      Case: 1:06-cr-00074-SA-DAS Doc #: 72 Filed: 07/05/06 1 of 2 PageID #: 159




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 1:06CR74-P-D

SHARON SMITH, ET AL.,                                                           DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        These matters come before the court upon Defendant Sharon Smith’s Motion for

Continuance [70-1] and Defendant Nicole Smith’s Motion for Continuance [71-1]. Upon due

consideration of the motions, the court finds as follows, to-wit:

        Trial for all seven defendants is currently set for July 24, 2006. Given that granting a

continuance for one defendant will continue trial for all defendants, the court finds Nicole Smith’s

motion moot since her motion is the latter of two. In Sharon Smith’s motion, counsel avers that he

needs additional time in which to review several hundred pages of discovery recently provided to

him on June 29, 2006. Furthermore, counsel requests additional time in which to advise his client

regarding a possible plea offer versus preparation for trial. The Government has filed no objection

to a continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from July 24, 2006 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(8)(A) because, given the circumstances described above,

a continuance is necessary to afford the defendant’s counsel more time to adequately prepare for his

client’s defense. As such, the ends of justice served by the granting of this continuance outweigh the

best interests of the public and the defendant in a speedy trial.


                                                   1
      Case: 1:06-cr-00074-SA-DAS Doc #: 72 Filed: 07/05/06 2 of 2 PageID #: 160




       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Sharon Smith’s Motion for Continuance [70-1] is hereby GRANTED;

       (2) Defendant Nicole Smith’s Motion for Continuance [71-1] is DENIED AS MOOT;

       (2) Trial of this matter is continued until Monday, August 28, 2006 at 9:00 a.m. in the United

       States Courthouse in Greenville, Mississippi;

       (3) The delay from July 24, 2006 to August 28, 2006 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is August 7, 2006; and

       (5) The deadline for submitting a plea agreement is August 14, 2006.

       SO ORDERED this the 5th day of July, A.D., 2006.


                                                             /s/ W. Allen Pepper, Jr.
                                                             W. ALLEN PEPPER, JR.
                                                             UNITED STATES DISTRICT JUDGE




                                                 2
